    AO245B             (Rev. 11/16) Judgment in a Criminal Case
                       Sheet 1
    BEARD HAYDEN JNC
    AO245B              Judgment in a Criminal Case




                                                               UNITED STATES DISTRICT COURT
                                                                                     District of Alaska
                       UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE
                                  v.                                                            (For Supervised Release)

                                                        HAYDEN BEARD                            Case Number:              3:18-CR-00029-01-RRB
                                                                                                USM Number:               20207-006
                                                                                                Gretchen L. Staft
                                                                                                Defendant’s Attorney
    THE DEFENDANT:
    ☒ pleaded guilty to count(s) 2 of the Indictment
    ☐ pleaded nolo contendere to count(s)
      which was accepted by the court.
              


    ☐ was found guilty on count(s)
      after a plea of not guilty.
    The defendant is adjudicated guilty of these offenses:
    Title & Section                                             Nature of Offense                                                     Offense Ended   Count
    18 U.S.C. §§ 2252(a)(4)(B) and                              Sexual Exploitation of a Child – Possession of Child                     1/19/2018        2
    (b)(2)                                                      Pornography
    18 U.S.C. § 2253                                            Criminal Forfeiture Allegation                                             N/A         N/A




    The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to
    the Sentencing Reform Act of 1984.
     ☐ The defendant has been found not guilty on count(s)
     ☒Count(s) 1 of the Indictment
                                                      ☒ is   ☐ are    dismissed on the motion of the United States.
    It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
    restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.
                                                                                                4/17/2019
                                                                                                Date of Imposition of Judgment
                                                                                                s/RALPH R. BEISTLINE
                                                                                                Signature of Judge

                                                                                                Ralph R. Beistline, Senior United States District Judge
                                                                                                Name and Title of Judge
                                                                                                4/25/2019
    Sheet 1
                                                                                                Date




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AO245B                   (Rev. 11/16) Judgment in a Criminal Case
                         Sheet 2 — Imprisonment
                                                                                                                     Judgment — Page 2 of 8
DEFENDANT:                             HAYDEN BEARD
CASE NUMBER:                           3:18-CR-00029-01-RRB

Sheet 2 — Imprisonment
                                                                      IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
48 MONTHS




☒The court makes the following recommendations to the Bureau of Prisons:
 The defendant serve his term of imprisonment in a facility in Texas which has the Bureau of Prisons Residential Drug
  Abuse Program, a sex offender treatment program, and mental health treatment available.

☒The defendant is remanded to the custody of the United States Marshal.

☐The defendant shall surrender to the United States Marshal for this district:
 ☐ at                                             ☐ a.m. ☐ p.m.        on                                               .
 ☐ as notified by the United States Marshal.

☐The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


 ☐ before 2 p.m. on                                                               .
 ☐ as notified by the United States Marshal.
 ☐ as notified by the Probation or Pretrial Services Office.


                                                                             RETURN
I have executed this judgment as follows:




Defendant delivered on                                                                    to
at                                                         , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL

                                                                              By
                                                                                               DEPUTY UNITED STATES MARSHAL




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AO245B                                (Rev. 11/16) Judgment in a Criminal Case
                                      Sheet 3 — Supervised Release
                                                                                                                                       Judgment — Page 3 of 8
DEFENDANT:                                          HAYDEN BEARD
CASE NUMBER:                                        3:18-CR-00029-01-RRB

Sheet 3 — Supervised Release
                                                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :

    20 YEARS




                                                                            MANDATORY CONDITIONS
1.                             You must not commit another federal, state or local crime.
2.                             You must not unlawfully possess a controlled substance.
3.                             You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
                               release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                                 ☐The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of
                                       future substance abuse. (check if applicable)
4.                             ☐You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
                                 restitution. (check if applicable)
5.                             ☒You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.                             ☒You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
                                 as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
                                 where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.                             ☐You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached pages.




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 AO245B                                 (Rev. 11/16) Judgment in a Criminal Case
                                        Sheet 3A — Supervised Release
                                                                                                                                      Judgment — Page 4 of 8
 DEFENDANT:                                           HAYDEN BEARD
 CASE NUMBER:                                         3:18-CR-00029-01-RRB

 Sheet 3A — Supervised Release
                                                                STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These
 conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
 the minimum tools needed by probation officers to keep informed, report to the court about, and bring about improvements
 in your conduct and condition.
 1.                              You must report to the probation office in the federal judicial district where you are authorized to reside within 72
                                 hours of your release from imprisonment, unless the probation officer instructs you to report to a different probation
                                 office or within a different time frame.
 2.                              After initially reporting to the probation office, you will receive instructions from the court or the probation officer
                                 about how and when you must report to the probation officer, and you must report to the probation officer as
                                 instructed.
 3.                              You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
                                 permission from the court or the probation officer.
 4.                              You must answer truthfully the questions asked by your probation officer.
 5.                              You must live at a place approved by the probation officer. If you plan to change where you live or anything about
                                 your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days
                                 before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you
                                 must notify the probation officer within 72 hours of becoming aware of a change or expected change.
 6.                              You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
                                 probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
                                 view.
 7.                              You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
                                 excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
                                 unless the probation officer excuses you from doing so. If you plan to change where you work or anything about your
                                 work (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before
                                 the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
                                 circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
                                 change.
 8.                              You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
                                 has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
                                 the permission of the probation officer.
 9.                              If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.                              You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
                                 anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
                                 person such as nunchakus or tasers).
11.                              You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
                                 informant without first getting the permission of the court.
12.                              If the probation officer determines that you pose a risk to another person (including an organization), the probation
                                 officer may require you to notify the person about the risk and you must comply with that instruction. The probation
                                 officer may contact the person and confirm that you have notified the person about the risk.
13.                              You must follow the instructions of the probation officer related to the conditions of supervision.




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AO245B                          (Rev. 11/16) Judgment in a Criminal Case
                                Sheet 3D — Supervised Release
                                                                                                                               Judgment — Page 5 of 8
DEFENDANT:                                    HAYDEN BEARD
CASE NUMBER:                                  3:18-CR-00029-01-RRB
                                                          SPECIAL CONDITIONS OF SUPERVISION
Sheet 3D — Supervised Release




                                1. In addition to submitting to drug testing in accordance with the Violent Crime Control and Law Enforcement
                                   Act of 1994, at the direction of the probation officer the defendant shall obtain a substance abuse assessment
                                   and participate in any recommended treatment. The treatment program must be approved by the United
                                   States Probation Office and the program must include testing to determine whether the defendant has
                                   reverted to the use of drugs or alcohol. At the direction of the probation officer, the defendant may be
                                   required to pay for all or a portion of any treatment program. In addition to urinalysis testing that may be a
                                   part of a formal drug treatment program, the defendant shall submit up to 12 urinalysis tests per month.
                                2. The defendant shall not consume any alcohol and shall not possess any alcoholic beverages during the period
                                   of supervision. If this condition interferes with potential employment, the defendant shall discuss the
                                   employment requirements with the probation officer and may request a modification of the condition.
                                3. The defendant shall not possess or use a computer or cellular telephone with access to any on-line service at
                                   any time (including employment) without prior written approval from the probation officer. This includes
                                   access through any Internet service provider, bulletin board system, e-mail system, or any public or private
                                   computer network system. The defendant shall permit routine inspection of his/her computer system or any
                                   other computer system maintained at the defendant’s residence to include hard drives and any media storage
                                   materials, to confirm adherence to this condition. The inspection shall be no more intrusive than is necessary
                                   to ensure compliance with the defendant’s conditions of supervision. The defendant shall inform his/her
                                   employer, or other third party who may be impacted by this condition, of this computer-related restriction
                                   and the computer inspection provisions of the condition.
                                4. The defendant shall provide the probation officer with any requested financial information to verify there
                                   have been no payments to an Internet Service Provider or entities that provide access to the Internet via
                                   computer, cell phone, PDA, or other electronic media device.
                                5. The defendant shall have no contact with any person under the age of 18 years without adult supervision,
                                   including his/her own family members, nor attempt contact except under circumstances approved in advance
                                   and in writing by the probation officer in consultation with the defendant’s treatment provider.
                                6. The defendant shall not seek employment, engage in leisure activities or loiter near places designated
                                   primarily for minors such as schools, parks, and arcades, which may bring the defendant into unsupervised
                                   contact with any person under the age of 18 years. Contact is defined as any transaction occurring face to
                                   face, over the telephone, via mail, over the internet, and any third party communication.
                                7. The defendant shall not be employed in any capacity which is likely to cause the defendant to come into
                                   unsupervised contact with children, except under circumstances approved in advance by the supervising
                                   probation officer. The defendant shall not participate in any volunteer activity that may cause the defendant
                                   to come into direct contact with children, except under circumstances approved in advance by the
                                   defendant’s probation officer.
                                8. The defendant shall not possess any material showing sexually explicit conduct as defined under 18 U.S.C.
                                   § 2256 or as deemed inappropriate by his probation officer and/or treatment provider, or patronize any
                                   location or website where such material or entertainment is featured. To assist in monitoring this condition,
                                   the defendant shall allow, at the defendant’s expense, the probation office to install monitoring software or
                                   hardware on any computer(s) or electronic device(s) in order to determine adherence to this condition.
                                   Further, the defendant shall provide the probation officer with any requested financial information to verify
                                   any Internet Service Provider account information or entities that provide access to the Internet via computer,
                                   cellular telephone, tablet, or any other electronic media device.
                                9. The defendant shall conform with sex offender registration laws and other laws which exist in any
                                   jurisdiction where he resides or visits, within 24 hours of release on supervision or any change in
                                   circumstances.




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AO245B      (Rev. 11/16) Judgment in a Criminal Case
            Sheet 3D — Supervised Release
                                                                                                               Judgment — Page 6 of 8
DEFENDANT:                HAYDEN BEARD
CASE NUMBER:            3:18-CR-00029-01-RRB
            10. The defendant shall submit to a warrantless search of person, residence, vehicle, personal effects, place of
                employment, and other property by a federal probation or pretrial services officer or other law enforcement
                officer, based upon reasonable suspicion of contraband, a violation of a condition of supervision, or a
                violation of law. Contraband includes, but is not limited to, any computers, electronic media, videotapes,
                CD’s, DVD’s, Zip drives, PDA’s or other electronic media storage device that may include images of child
                pornography. Failure to submit to a search may be grounds for revocation.
            11. The defendant shall participate in a program of sex offender assessment and treatment, as directed by the
                probation officer, until such time as he is released from the program. This assessment, treatment and the
                entirety of supervised release may include physiological testing such as polygraph to assist in planning, case
                monitoring, and supervision. At the direction of the probation officer, the defendant may be required to pay
                for all or a portion of any treatment program. Any refusal to submit to such assessment or tests as scheduled
                is a violation of the conditions of release. The defendant shall waive his right of confidentiality in treatment
                and sign any necessary releases for any records imposed as a consequence of this judgment to allow the
                supervising United States Probation Officer to review the defendant's course of treatment and progress with
                the treatment provider(s). Following completion of any sex offender treatment program, the defendant shall
                continue to submit to polygraph examination at the direction of the probation officer to assist with monitoring
                any perceived risks of danger to the community and adherence to the terms and conditions of supervision.
                At the direction of the probation officer, the defendant may be required to pay for all or a portion of any
                polygraph testing.
            12. Until such time that the fine and/or restitution is paid in full, the defendant shall provide the probation officer
                access to any requested financial information, including authorization to conduct credit checks, and shall not
                incur any new debts or apply for credit without the prior approval of the probation officer.
            13. During the term of supervision, the defendant shall, while eligible, apply for the Alaska Permanent Fund
                Dividend (PFD) and shall apply the PFD toward any outstanding restitution or fine owed in this case.
            14. At the direction of the probation officer the defendant shall obtain a mental health assessment and participate
                in any recommended mental health treatment. The treatment program must be approved by the United States
                Probation Office. At the direction of the probation officer, the defendant may be required to pay for all or a
                portion of any treatment program.

                 //////////////////////////////////////////////////////////////////////////////////////////




U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at www.uscourts.gov.

Defendant’s Signature                                                                       Date




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AO245B                                          (Rev. 11/16) Judgment in a Criminal Case
                                                Sheet 5 — Criminal Monetary Penalties
                                                                                                                                                                                   Judgment — Page 7 of 8
DEFENDANT:                                                    HAYDEN BEARD
CASE NUMBER:                                                  3:18-CR-00029-01-RRB
                                                                               CRIMINAL MONETARY PENALTIES
Sheet 5 — Criminal Monetary Penalties
                                        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                                                                                  Sheet 5 — Criminal Monetary Penalties




                                                      Assessment                   JVTA Assessment*                                                       Fine              Restitution
TOTALS                                            $ 100.00                     $                                                               $                          $ TBD

☒                                        The determination of restitution is deferred until        July 2, 2019                  An Amended Judgment in a Criminal Case (AO 245C)
                                         will be entered after such determination.

☐                                        The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
                                         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
                                         otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
                                         victims must be paid before the United States is paid.


Name of Payee                                                                              Total Loss**                                Restitution Ordered                   Priority or Percentage




TOTALS                                                                                          $ 0.00                                                           $ 0.00


☐                                        Restitution amount ordered pursuant to plea agreement $

☐                                        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                                         the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
                                         subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
☐                                        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                                         ☐ the interest requirement is waived for the ☐ fine    ☐ restitution
                                         ☐ the interest requirement for the ☐ fine      ☐ restitution is modified as follows:

*                                          Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

**                                        Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
                                          offenses committed on or after September 13, 1994, but before April 23, 1996.




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AO245B                                    (Rev. 11/16) Judgment in a Criminal Case
                                          Sheet 6 — Schedule of Payments
                                                                                                                                                           Judgment — Page 8 of 8
DEFENDANT:                                              HAYDEN BEARD
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Sheet 6 — Schedule of Payments
                                                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A ☒ Lump sum payment of                                                $100.00                         due immediately, balance due
                                     ☐ not later than                 , or
                                     ☒ In accordance  with ☐C, ☐D, ☐  E, or ☒F below; or 

B ☐Payment to begin immediately (may be combined with ☐C, ☐D, ☐ E, or ☐F below); or
  
     Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                        over a
C ☐
     period of                   (e.g., months or years), to commence                          (e.g., 30 or 60 days) after the
     date of this judgment; or
  
     Payment in equal                                                                (e.g., weekly, monthly, quarterly) installments of   $                         over a
D ☐
     period of                                                           (e.g., months or years), to commence                                 (e.g., 30 or 60 days) after
    Release from imprisonment to a term of supervision; or
  ☐
E   Payment during the term of supervised release will commence within                                                                        (e.g., 30 or 60 days) after release
                                     from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
                                 
F ☒ Special instructions regarding the payment of criminal monetary penalties:
                           
                                     Any unpaid amount is to be paid during the period of incarceration at a rate of 50% of wages earned while in the custody of the
                                     Bureau of Prisons and during the period of supervision in monthly installments of not less than 10% of the defendant’s gross
                                     monthly income or $25, whichever amount is greater.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program are made to the United States District Court, District of Alaska. For restitution
payments, the Clerk of the Court is to forward money received to the party(ies) designated to receive restitution specified on the
Criminal Monetaries (Sheet 5) page.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐Joint and Several
  Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
 and corresponding payee, if appropriate.



☐The defendant shall pay the cost of prosecution.

☐The defendant shall pay the following court cost(s):

☒The defendant shall forfeit the defendant’s interest in the following property to the United States:
 Defendant shall forfeit the defendant’s interest in the property as stated in the Preliminary Order of Forfeiture (DKT 44).


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.


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